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                         Exhibit C
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     VIA FEDERAL EXPRESS AND EMAIL

     March 7, 2018

     David Duke
     240 Garden Avenue
     Mandeville, LA 70471
     emestduke@hotmail.com

     RE:    Sines et al. v. Kessler et al., No. 17-cv-00072

     Dear Mr. Duke:

            As you know, we represent Plaintiffs in the above-referenced action. We write
     regarding (1) your objections to the subpoena Plaintiffs served on you on January 26,
     2018, and (2) your motion to quash the subpoena, both of which you filed on February 26,
     2018.

             Before seeking a court's intervention, the parties to a dispute over the validity or
     scope of a subpoena are required to meet and confer to attempt to resolve the objections.
     Although you filed your motion to quash without first conferring with us, we propose to
     confer with you by telephone at a mutually convenient time to see whether we can
     nevertheless resolve the disputes without the intervention of the court. Please contact me
     at your earliest convenience and in no event later than this Friday, March 9, 2018. You
     may call me directly at 212-446-2300 or contact me by email at pbowman@bsfllp.com to
     arrange a time to speak.

             Our deadline to file an opposition to your motion to quash is this coming Monday,
     March 12, 2018, and we intend to report to the Court at that time on our progress in
     resolving these disputes.


                                                                     Sincerely,

                                                                        !Ao/ m &W;Wv
                                                                     Philip M. Bowman
                                                                                                               /yg
                                                                     pbowman@bsfllp.com
                                                                     21-2-446-2300




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